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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

PHILIP J. CHARVAT,

               Plaintiff,
                                                      Case No. 11-cv-237
       v.                                             JUDGE GREGORY L. FROST
                                                      Magistrate Judge Terence P. Kemp
TRUGREEN LIMITED
PARTNERSHIP, et al.,

               Defendants.


                                             ORDER

       This matter is before the Court on the Notice of Voluntary Dismissal with Prejudice.

(ECF No. 17.) A plaintiff may voluntary dismissal upon notice only before the opposing party

files an answer or by “a stipulation of dismissal signed by all parties who have appeared.” Fed.

R. Civ. P. 41(a)(1)(A)(i) and (ii). A plaintiff may effectuate a dismissal otherwise only by court

order. See Fed. R. Civ. P. 41(a)(2) (“Except as provided in Rule 41(a)(1), an action may be

dismissed at the plaintiff’s request only by court order, on terms that the court considers

proper.”). Plaintiff here failed to comply with Rule 41(a)(1). Thus, the Court accepts Plaintiff’s

notice as a motion under Rule 41(a)(2) and hereby GRANTS that motion. The Clerk is

DIRECTED to terminate this case from this Court’s civil docket.

       IT IS SO ORDERED.


                                                      /s/ Gregory L. Frost
                                                      GREGORY L. FROST
                                                      UNITED STATES DISTRICT JUDGE
